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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


GATEGUARD, INC.


                Plaintiff,                                 Civil Action No. _______________

       v.
                                                           INDIVIDUAL AND CLASS
                                                           ACTION COMPLAINT
AMAZON.COM, INC.,
AMAZON.COM SERVICES, INC.,                                 JURY TRIAL DEMANDED
AMAZON.COM SERVICES, LLC,
AMAZON LOGISTICS, INC.

                Defendants.


       Plaintiff GateGuard, Inc. (“GateGuard”) by and through its attorneys, Quainton Law,

PLLC, for itself and on behalf of all others similarly situated, as and for its Complaint against

Defendants Amazon.com, Inc., Amazon.com Services, Inc., Amazon.com Services, LLC, and

Amazon Logistics, Inc. (collectively, “Amazon” or “Defendants”), alleges and states as follows:

                                      INTRODUCTION

       1.       This is an action for damages, documented with photographic and video evidence,

resulting from Amazon’s illegal pattern of tampering with intercom and access control devices in

multifamily residential buildings in New York and across the nation, while lying to low-level

building personnel and deceiving property owners about its authority to install its own access

devices. Amazon has interfered with GateGuard’s contractual relations and prospective economic

advantage, committed computer fraud, misappropriated and converted property to its own use,

unjustly enriched itself—all as part of a broader scheme that attempts to monopolize the e-

commerce delivery market. GateGuard is also seeking an injunction permanently enjoining
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Amazon from taking any further action to tamper with any intercom devices installed in

multifamily residential buildings in New York without the consent of the device owner and the

building owner/manager.

       2.       Founded in 2016, GateGuard is a startup company that develops, manufactures and

sells security technology for multi-tenant apartment buildings.

       3.       One of GateGuard’s primary offerings is its “AI Doorman” intercom device, which

was first released in 2016.

       4.       GateGuard’s intercoms offer unique features and capabilities that enable building

managers to autonomously track everyone who enters, buzzes, or uses a guest code. These features

alert building managers to forbidden activities such as illegal subletting, use of residential

apartments as dormitories, unauthorized or non-compliant group activities and other threats to the

safety and property of residents and landlords alike.

       5.       GateGuard’s intercoms also generate real-time logs of these activities managers can

view, filter, and print from any mobile phone, tablet, or computer, which are accessible via built-

in cellular modems that connect the units to the internet. GateGuard thus constitutes a valuable

repository of client data of great interest to a business such as Amazon.

       6.       Property managers and tenants rely on GateGuard to keep their buildings safe.

       7.       Amazon is not only destroying GateGuard’s business by the conduct described

above: It is compromising the safety of New York City residents – and breaking the law.

       8.       Specifically, N.Y. Multiple Dwelling Law § 50-a requires every apartment building

in New York State be equipped with a working intercom system. The statute imposes criminal

liability on anyone “who shall willfully destroy, damage, or jam or otherwise interfere with the

proper operation of” such intercoms.

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        9.       This is exactly what Amazon has done. At numerous buildings throughout New

York City and in this District, Amazon installed its own devices without permission of building

management and has destroyed, damaged, and interfered with the proper operation of GateGuard’s

intercoms either making the devices appear to be defective, or actually damaging the proper

functioning of GateGuard’s devices in order to return to the building and propose a security

“upgrade” to unsuspecting property managers and owners who did not know of Amazon’s initial

installation.

        10.      Amazon has operated in a ruthless, cut-throat manner, pushing growth at all costs

and signing up new buildings at breakneck speed, often without consent and by deceiving building

superintendents that they have obtained management or ownership approval.

        11.      GateGuard has brought this issue to Amazon’s attention repeatedly, even directly

to its founder Jeff Bezos, starting in October 2020.

        12.      Yet Amazon refuses to take responsibility for its conduct or even to change its

deceptive and unlawful practices, despite being on notice that its activities compromise the safety

of building residents—including Amazon’s own customers.

        13.      Left with no other choice, GateGuard brings this suit to hold Amazon accountable

for the damage it has caused and to prevent Amazon from monopolizing the e-commerce delivery

market and further damaging GateGuard and other victims of its anti-competitive conduct.

                                          THE PARTIES

        14.      GateGuard, Inc. (“GateGuard” or “Plaintiff”) is a Delaware corporation having a

principal place of business at 1521 Alton Road, #888, Miami Beach, FL 331391.

        15.      Defendant Amazon.com, Inc. is a Delaware corporation having a principal place

of business at 410 Terry Avenue North, Seattle, WA 98109.

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        16.      Defendant Amazon.com Services, Inc., is a Delaware corporation having a

principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        17.      Defendant Amazon.com Services, LLC, is a Delaware limited liability company

having a principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        18.      Defendant Amazon Logistics, Inc. is a Washington State corporation having a

principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        19.      Upon information and belief, Defendants are and were at all relevant times the

agents, affiliates, alter egos, partners, assignees, successors-in-interest, or principals of each other

or were otherwise responsible for or participated in the performance of the wrongful acts alleged

herein, and thereby are jointly and severally responsible for such acts and incurred liability

therefore.

                                  JURISDICTION AND VENUE

        20.      This court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338 in that this case arises under various federal statutes, including the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030 et seq., the Sherman Antitrust Act of 1890, 15 USC § 2, and the

Clayton Act of 1914, 15 U.S.C. § 12 et seq.

       21.       This Court has supplemental jurisdiction over all state law causes of action asserted

herein pursuant to 28 U.S.C. § 1367, because Plaintiff's state law claims are part of the same case

or controversy.

        22.      This Court has personal jurisdiction over Defendants because each of them

conducts business in New York and because they have committed torts in the State of New York

and in this district.

        23.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), as a substantial part

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of the events, acts, omissions, and injuries giving rise to the claims occurred in this judicial district

and because Defendants are subject to personal jurisdiction in this judicial district at the time this

action has commenced.

                                   FACTUAL BACKGROUND

General

        24.     Amazon has achieved market power in multiple segments of the Internet-based

economy. After beginning as a lowly online bookstore, Amazon now controls 40% of the cloud

storage market, 34% of the cloud hosting market, 33% of the cloud infrastructure services market,

more than Microsoft, Google, IBM and Alibaba combined.1

        25.     Amazon’s complete dominance of the overall e-commerce market is even more

striking, as the chart below illustrates. Amazon has the power to dominate markets and is acting

in an increasingly cutthroat manner that has attracted the attention of the Federal Trade

Commission2 and senior members of the United States House of Representatives.




1
  See https://kinsta.com/aws-market-share.
2
 https://www.supplychainbrain.com/articles/30346-walmart-subsidizing-some-vendors-in-price-
war-with-amazon (Amazon has also come under scrutiny for increasingly leaning on vendors to
ensure that their products aren’t offered for a lower price on Walmart.com or any other rival
website.

                                                   5
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       26.    According to a recent report of the House of Representatives’ Subcommittee on

Antitrust, Commercial and Administrative Law, entitled Investigation of Digital Competition

Markets (the “House Antitrust Report”), Amazon controls about 65% to 70% of all U.S. online

marketplace sales and is the most-visited website in the world for e-commerce and shopping. In a

telling phrase, the House Antitrust Report defines Amazon as the “gatekeeper” for e-commerce,

because third parties are virtually compelled to use the Amazon platform for e-commerce sales.

       27.    Amazon’s most ambitious plan yet is to become the actual, and not merely

metaphorical, gatekeeper for urban multi-family residences.

       28.    Amazon’s goal is nothing less that the monopolization of the e-commerce

delivery market and domination of nation-wide package delivery, giving its own products a

competitive advantage over rivals and forcing both e-commerce delivery services (from

Shipstation.com to Walmart.com) or package delivery services (such as Fed Ex and UPS) to use

the Amazon network.

Amazon Logistics

       29.    Amazon’s deliveries are effected through Amazon Logistics Inc., an Amazon

subsidiary founded in 2016. In just a few short years, Amazon Logistics now controls over 20%

of the total package shipping market in the United States and shows no sign of slowing down.

Amazon Logistics’ tremendous growth has vaulted it ahead of Federal Express, one of the

industry leaders with decades more experience than Amazon logistics.3 The charts below testify

to the explosive growth of Amazon Logistics.




3
 https://www.asicentral.com/news/newsletters/promogram/october-2021/report-amazon-
surpasses-fedex-in-us-shipping-share/

                                               6
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             4
      30.




4
 https://www.asicentral.com/news/newsletters/promogram/october-2021/report-amazon-
surpasses-fedex-in-us-shipping-share/
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According to Axios, “Amazon has the potential to decimate UPS and Fed Ex.”5 Amazon's online

platform is already undercutting the big players' average shipping rates by up to 33%, according

to Freightwaves. As Axios puts it, Amazon’s “tactic is a modern example of putting competition

through a Rockefeller-style ‘good sweating.’”6

           31.    Amazon already uses its market power to tie third party sellers on its “Amazon

marketplace” platform to its fulfillment and delivery business. As the House Antitrust report

puts it,

           Due to a lack of alternatives, third-party sellers have no choice but to purchase fulfillment
           services from Amazon. More than 73% of all Marketplace sellers worldwide reportedly
           rely on FBA services. Numerous third-party sellers told the Subcommittee that they
           feel they have no choice but to pay for FBA to maintain a favorable search result
           position, to reach Amazon’s more than 112 million Prime members, and to win the Buy
           Box—through which the vast majority of Amazon sales are made.1780 A recent consumer
           survey indicated that 75% of Amazon Prime customers specifically search for products
           flagged as Prime-eligible. As a result, as the Online Merchant’s Guild told
           Subcommittee staff, many sellers will “say that without Prime you are dead.”
           A competing online marketplace described how Amazon effectively forcing sellers into
           its FBA program makes it more difficult to compete with Amazon for sellers, stating, “
           [T]hrough anticompetitive strategies and practices by Amazon, many . . . sellers are being
           pulled into Amazon’s tied marketplace-and-ecommerce-fulfilment ecosystem in a manner
           that makes them not only less independent but directly dependent on Amazon.


The Last-Mile Delivery Market

           32.    In 2016, the year Amazon Logistics was created, industry analyst Mordor

Intelligence noted:

           The last mile delivery, being a final leg of logistics is very important, time consuming
           and also takes a major share in the overall delivery cost. Unlike the normal shipping,
           where large amount of cargo is transported along a fixed route, the last mile delivery

5
    https://www.axios.com/amazon-shipping-bigger-than-fedex-3dc5d80d-e16a-4531-9f45-1898a6261a78.html
6
    Id.
                                                     8
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       involves transportation of goods in multiple routes with low parcel sizes. This cost has
       been vital for the retailers as the customers’ expectations toward the fast and free delivery
       are growing. So, the companies and retailers are looking at advanced technological
       solutions and new delivery models to improve the overall process. According to various
       industrial estimates, the costs associated with the last miles stands around 50% of the
       overall logistics cost.

       33.     Historically, the private package delivery duopoly, UPS and Fed Ex, outsourced

last-mile delivery to the US Postal Service (“USPS”).7 However, Amazon led the way in

internalizing the last-mile delivery function, leading UPS and Fed Ex to follow suit.

       34.     E-commerce is the major driver of last-mile delivery growth. According to the US

census, e-commerce sales for the second quarter of 2021, adjusted for seasonal variation, but not

for price changes, was $222.5 billion. Unlike bricks and mortar retail sales, 100% of all e-

commerce sales require last mile logistics delivery. While Amazon’s share of total last mile

delivery is not publicly available, if its share of the much larger national parcel delivery market

has now surpassed Fed Ex and, likely, UPS, its last mile delivery market share must be even

greater.

The E-commerce Delivery Market.

       35.     Amazon already has market power in retail e-commerce, as the House Antitrust

Report recognizes. Likewise, Amazon has market power over fulfillment logistics for third-party

sellers who sell through the Amazon marketplace, as reflected in the 73% fulfillment rate for

third party sales on the Amazon platform. If Amazon controls 70% of the online marketplace

(with its own sales aggregated with third party sales) and its own sales amount to 50% of all

online sales, this means that it must control in excess of 60% of all e-commerce deliveries. This



7
 https://www.savethepostoffice.com/postal-service-delivers-last-mile-almost-changing-modes-
delivery/#:~:text=The%20Postal%20Service%20helps%20out%20FedEx%20and%20UPS,it%20does%20best%20%E2
%80%9D%20%E2%80%94%20last%20mile%20delivery.
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is a distinct delivery market, since UPS, Fed Ex and USPS have essentially zero market share in

e-commerce delivery.

        36.     Here, Amazon has the market power to achieve its ultimate goal—the

monopolization of the entire e-commerce delivery market and the achievement of a dominant

position in package delivery generally.

        37.     Control of the ecommerce delivery market will feed back into and further

reinforce Amazon’s domination of the e-commerce market and position it to destroy FedEx and

UPS as competitors as well or turn them into clients.

Residential Apartments and the Amazon “Key” to Control

        38.     In large urban environments, the vast majority of the population lives in multi-

family apartments. In New York City, for example, 84% of the housing stock is in multi-family

apartment buildings. https://furmancenter.org/thestoop/entry/report-growth-in-nycs-housing-

stock-is-outpaced-by-growth-in-adult-populati.

       39.      All apartment buildings are required by law to have an intercom or access control

system of some kind, and the intercom market in New York alone consists of hundreds of

different companies. Just a few of these companies include Computer Integrated Services of New

York, Advanced iCam New York, Intercom in NYC, Hillman Intercom, CBSIntercom Systems,

Johnson Integrated Security Systems, United Security Systems, Easy Intercom, Parker Intercom

Service and Brooklyn Intercom. Control of access to residential multi-family dwellings is the key

to domination of the delivery market.

       40.      Technologically, building access requires a door-access device. In 2019, Amazon

hit on the solution, which it calls the Amazon Key for Business, or “Key for Business” for short.



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        41.      The Key for Business is a small device that can be inserted into existing access

devices or systems through an “extender” described in more detail below, or by being directly

wired into an existing access system's wiring. The Key can remotely controlled and, once

installed, Amazon deliverers can use it to obtain building access 24/7 without the intervention of

any third parties.




         42.     To install its Key for Business, Amazon lies to building superintendents, claiming

  to have received authorization to install its device when it has not received such consent, and

  then illegally tampers with already installed devices, such as the GateGuard intercoms, to place

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an “extender” inside the electronic devices belonging to others, including GateGuard, enabling

Amazon to “piggy back” on the authorized access granted to parties such as GateGuard,

bypassing landlords, property owners and other third-party access providers. The Amazon Key

“brain” pictured above is wired directly into or onto the GateGuard circuitry, often shorting the

device and lock mechanisms due to polarity or voltage mismatches, as shown in more detail

below, beginning on paragraph 89.

Key for Business is Designed so Amazon Can Dramatically and Cheaply Increase the Speed of
its Deliveries, and Ultimately Control the E-Commerce Delivery Market .
       43.     Amazon’s true motivations for deploying Key for Business are to control residential

building access, thereby increasing the volume and speed of its deliveries to apartment buildings

and becoming an essential service through which it can ultimately control the ecommerce delivery

markets.

       44.     By installing its Key for Business within or on top of existing intercom/access

control devices of third parties, Amazon can effectively control the e-commerce delivery market

entirely. This is so because, with the priority, 24/7 access of the Amazon Key, Amazon

deliveries can be made at any time, without the need to gain entry to the building from the

customer, superintendent, or intercom/access controller. Other e-commerce retailers will not be

able to compete with Amazon for delivery and will be forced to use Amazon’s delivery service

for a fee, thus making competitors customers.

       45.     Crucially, through the Key for Business, Amazon Logistics can obtain a decisive

cost advantage over competitors. The chart below shows the magnitude of escalating cost issues

for Amazon (and for all delivery companies).




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       46.     One of the main drivers of escalating costs in the congested urban environment is

a lack of parking or extended standing places in the urban environment. Deliverers are forced to

spend time and gas circling buildings, attempting multiple re-deliveries or cancelling deliveries

altogether and incurring customer ill-will. With the Amazon Key, deliverers can offload and

deliver to a common delivery area inside the residence multiple packages in minutes.

       47.     In addition, by ensuring more rapid, reliable deliveries through its Key, Amazon

can market a faster, more efficient package delivery service not only for its own products, but

also for third-party deliveries. E-commerce rivals will be unable to match Amazon for speed and

reliability and will be forced to use Amazon for their deliveries. With total control of the

delivery market, Amazon can engage in the other anti-competitive conduct identified by the

House Antitrust Report: appropriation of third-party data, self-preferencing and extraction of

anti-competitive user fees. Amazon can then create a “feedback” loop to further reinforce its
                                                 13
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dominance of e-commerce retail, further enhancing its market power to dictate price at the

expense of consumers.

       48.     With a built-out “Key” network, Amazon can offer its delivery service to Fed Ex,

UPS and others as an unavoidable “last mile” delivery service, thus thwarting its competitors’

services and forcing these competitors to become its own customers.

       49.     As a result of the foregoing, Amazon has been able to double the delivery quotas

imposed on its drivers, increasing the volume of deliveries from 125-150 packages a day to 300

packages in the same time period, as documented by one well-informed commentator:




       50.     As bad as the conduct by Amazon alleged above was prior to 2020, it got worse

when ecommerce activity increased during the COVID-19 pandemic, as Amazon saw an

opportunity to monopolize the e-commerce delivery markets. Much as Amazon cloud services

have become central to the Internet in such a way that natural competitors are compelled to turn to

Amazon rather than develop rival technology, Amazon’s aim is to develop its delivery system so

                                                14
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extensively that rivals will find it cheaper to turn to Amazon Logistics for their deliveries than to

ensure such deliveries on their own.8

       51.     With a built-out access control network, Amazon can also offer its delivery service

to Fed Ex, UPS and others as an unavoidable “last mile” delivery service, thus cannibalizing its

competitors’ services while simultaneously forcing these competitors to become its own

customers. Amazon’s ubiquitous vans and trucks provide a vivid illustration of Amazon’s

dominant and growing power.

Amazon’s Patterns of Lies and Deception About its Key for Business

       52.     In its press release announcing the Key for Business,9 Amazon claimed that its Key

for Business “allows building owners and managers to give controlled access to delivery drivers

to drop off Amazon packages to their residents[.]” This press release was materially false when

made because Amazon intended from the outset to bypass the property owners and deceive

superintendents and managers, tricking them into believing no owner or third-party consent was

necessary.


8
  Media reports document that Amazon’s efforts have come at the expense of the health and safety
of these drivers. Lauren Kaori Gurley, Amazon Delivery Drivers Are Overwhelmed and
Overworked        by     Covid-19        Surge,        Motherboard          (July     1,      2020)
https://www.vice.com/en/article/m7j7mb/amazon-delivery-drivers-are-overwhelmed-and-
overworked-by-covid-19-surge (documenting how Amazon’s “punishing culture” and
“skyrocketing quotas” “made conditions for Amazon’s roughly 75,000 delivery drivers grueling
and dangerous” including by forcing drivers to violate traffic and safety laws and forego lunch and
bathroom breaks to meet Amazon’s expectations). See also Patricia Callahan, Amazon Pushes Fast
Shipping but Avoids Responsibility for the Human Cost, N.Y. Times (Sept. 5, 2019)
https://www.nytimes.com/2019/09/05/us/amazon-delivery-drivers-accidents.html (documenting
how Amazon’s “relentless push for e-commerce dominance” pressures its drivers into unsafe
situations, but when accidents result, Amazon goes to great lengths to “shields itself from
liability”).
9
 https://press.aboutamazon.com/news-releases/news-release-details/key-amazon-introduces-new-
products-and-services-expand-its (last accessed April 15, 2021).
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         53.    Promotional materials further the sales pitch that “Amazon Key for Business is

completely free and perfect for apartments, gated communities, and office buildings. . . Amazon

Key for Business (KFB) connects with a smart fob to let building owners and managers safely &

seamlessly grant access to Amazon’s fully vetted and tracked delivery drivers.”

         54.    Amazon’s website10 claims that Key for Business “works seamlessly with” and

“does not disrupt the existing building access system.” Amazon repeats the same claims in direct

communications with prospective customers.

         55.    These claims are false.

         56.    Amazon knows these claims are false.

         57.    A recently posted video provides further insight into Amazon’s sales tactics:




10
     https://www.amazon.com/b?ie=UTF8&node=18530497011 (last visited April 11, 2021).
                                           16
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         58.    In this video,11 an individual identified as one of Amazon’s “Regional Directors”

explains how Amazon’s sales representatives promoting KfB to building owners can leverage

Amazon’s prominence to gain the trust of business owners (“Amazon is a very respected business”

with “such a big name”).




         59.    In the video, Amazon sales reps are explicitly encouraged to keep their pitch as

“simple” as possible so that potential targets – low level managers and superintendents – do not

“get nervous” and can be tricked into signing a contract with Amazon without “feel[ing] the

need” to contact “a higher up.”

         60.    Amazon also uses deceptive language to promote its Key for Business.

         61.    In written and verbal communications with prospective customers, Amazon is



11
     https://www.youtube.com/watch?v=jpD20m4d_mE (last visited April 14, 2021).
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careful to characterize Key for Business as an “update” or a “necessary upgrade to [Amazon’s]

delivery system.”

       62.     For example, the above-referenced video documents how Amazon describes KfB

to building owners as a “necessary upgrade[] to [Amazon’s] delivery system:”




       63.     This is of course a complete lie as Amazon is not updating or upgrading any of its

own delivery devices, but is interfering with, and attempting to override, the existing access

devices already installed at the gate.

       64.     Amazon uses this deceptive language knowing few consumers will question or

forgo an “update” or “upgrade” Amazon says is “necessary.”

       65.     In the promotional materials attached to this email Amazon insists that Key For

Business is simply an update and “procedural fix,” even though it does not actually update any

Amazon products.

       66.     Amazon also lies in its promotional materials that its product will not interfere with

existing commercial access methods, deliberately pretending it will seek business owner consent

for installing its devices and conflating residents’ access with the access control of third-parties

controlling commercial including GateGuard, other intercom providers or the property managers


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or business owners themselves:




       67.     In reality, as described above, Amazon sales reps are specifically instructed to make
the sale with lower-level individuals, such as a superintendent, without seeking the consent of
“higher ups,” i.e., the landlord or property manager.


Amazon Falsely Claims Key for Business “Does Not Disrupt” Intercoms
       68.          In promotional materials and other documents used to promote Key for

Business to consumers, Amazon falsely claims its device can be added to any existing “control

system” in a “secure” manner, deliberately concealing the fact that its device interferes with and

is used to disable third-party control systems.




                                                  19
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      69.      On its website,12 Amazon claims that Key for Business “works seamlessly with”

and “does not disrupt the existing building access system.”




       70.     These claims are false.

       71.     Far from “completely secure,” Amazon’s Key for Business itself is a serious

security risk for buildings. In many instances, Amazon’s Key for Business installations interfere

with or destroy a building’s primary intercom, electric door locks, and other components.

       72.     Contrary to Amazon’s representations, by disabling or destroying the building’s

primary access system, Key for Business plainly does “allow intruders into. . . apartment

building[s]” since the device is designed to perform one function and one function only: ensure

that Amazon drivers can make deliveries into buildings without resident, superintendent, property

manager or third-party control or approval.

Amazon’s Relentless Hounding of Potential Customers

       73.     In addition to its deceptive sales tactics, Amazon is relentless in pushing the

installation of Key for Business. Customers report that Amazon’s representatives hound them

incessantly (by phone, email, and in person)13:




12
  https://www.amazon.com/b?ie=UTF8&node=18530497011 (last visited April 11, 2021).
13
    See, e.g., https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/17596-all-i-
want-for-christmas-is-to-be-off-of-the-amazon-key-call-list (last accessed April 15, 2021),
including reports such as:
    ● “They’re relentless!!”
    ● “I’m about to get a restraining order.”
    ● “Omg. They are THE WORST. I can’t be more clear at this point and they continue to call.
        It is so annoying and disruptive.”
See     also      https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/18024-any-
communities-out-there-using-amazon-key-for-business-pros-cons (last accessed April 15, 2021):
                                                20
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Amazon Ignores Management’s Instructions and Installs Key for Business Without Consent
       74.    Unsurprisingly, Amazon’s hard-ball sales tactics have been successful.

Occasionally property managers begrudgingly relent and allow Amazon to install Key for

Business, taken in by Amazon’s lies that the device will not interfere with its existing access

control system.

       75.    Often, however, a firm “no” does not stop Amazon. When their aggressive tactics

fail, Amazon sales reps proceed to the location and install Key for Business anyway – without the

property owner’s consent.14 To avoid the consent of management entirely, Amazon reps are

instructed to seek out and pressure lower-level employees to close a deal quickly so the nervous




    ● “They pressured us to get installed quickly, but none of the drivers even know what it is….
        I think it’s all a scam[.]”
    ● “Not only did nothing change but everyday we get solicited by Amazon and asked if we
        want this service that we already have…. [O]ur deliveries with them have gotten worse if
        that is possible.”
14
   https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/18024-any-communities-
out-there-using-amazon-key-for-business-pros-cons (last visited April 11, 2021).
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employees will not contact “higher-ups.”




       76.     Based on the number of social media posts discussing this phenomenon, it is

reasonable to infer that Amazon is systematically installing its Key for Business devices without

consent.

GateGuard’s Falls Prey to Amazon’s Ruthless Tactics

       77.     On information and belief, Amazon has installed its Key for Business devices at

over 40 buildings where GateGuard was already installed, either without the property owner’s

consent or by misrepresenting the effect the Amazon device would have on the GateGuard

intercoms and resulting in the malfunctioning of GateGuard equipment, customer complaints, loss

of revenue and loss of goodwill.

       78.     The consequences of Amazon’s conduct have been devasting to GateGuard. The

company has lost contracts covering a total of 310 buildings as a result of Amazon’s tactics.

When a device malfunctions at one building as a result of Amazon’s actions, GateGuard loses the

entire portfolio of buildings operated by a single manager. Thus, Amazon’s conduct has a

devastating multiplier effect on GateGuard’s business, resulting in millions of dollars in lost

revenues. Most importantly, at none of these buildings did GateGuard authorize the installation

of Amazon’s Key for Business into its own devices and, on information and belief, none of the

installations were authorized or authorized with full disclosure.

       79.     Property managers have retaliated against GateGuard, rather than Amazon, not

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knowing the full story and not considering the possibility that Amazon would operate in the

ruthless and anti-competitive manner discussed herein. This has damaged GateGuard directly in

its earnings as well as falsely damaged GateGuard technology's reputation in the industry.

        80.     As noted, Amazon achieves these unauthorized installations by arriving at a

building and (falsely) representing to unwitting residents or building personnel that the building’s

management has authorized Amazon to install Key for Business. This strategy has been

documented over and over, as indicated below:




        81.     When representatives of one of the world’s largest and best-known companies

represent that they have secured authorization to install equipment, it is little surprise that building

personnel and tenants often trust these representations and allow Amazon to install Key for

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Business.

       82.      Amazon has followed this same “playbook” to install Key for Business at no fewer

than a dozen buildings that utilize GateGuard’s intercoms, without authorization and in a manner

that intentionally or recklessly damages GateGuard’s devices. The damage to GateGuard’s

business has a multiplier effect, as landlords who have been deceived into believing GateGuard

malfunctions at one building cancel contracts covering dozens of additional buildings throughout

Manhattan.

       83.      This is not conjecture. GateGuard has specific proof that Amazon lies to building

superintendents to install Key for Business inside the GateGuard intercom, as evidenced in the

following dialogue between a GateGuard representative and a building superintendent:




       84. GateGuard contacted building management who confirmed they had not authorized

             Amazon’s installation:




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       85.     Not only was the installation of Key for Business unauthorized by building
management, it was never discussed with GateGuard, which, under its contract, has exclusive
control over package management and access control devices on each building where it is installed.
Amazon knows GateGuard has an agreement with the property manager for operation of its
intercom and, as a sophisticated market participant, knows that no intercom provider would agree
to allow another company to install their equipment on top of its own without consent and thus
knows that it is intentionally interfering with GateGuards contractual relations with the property
owners.
       86.     Generally, GateGuard only learned of the installation after the client complained
that the intercom – which had had no problems prior to the surreptitious insertion of the Key for
Business into Gateguard’s device – was now malfunctioning, leaving it with no effective remedy
other than to demand damages from Amazon, which Amazon refuses to pay.
       87.     The reason that Amazon’s Key for Business is so damaging to GateGuard’s
intercom is that the Amazon device is installed directly onto the GateGuard circuit board or wiring
that is connected directly to the circuit board, often “shorting” the devices and rendering them
inoperable.
       88.     Even though Amazon operates in great secrecy, GateGuard has been able to catch

Amazon “red-handed” tampering with its intercom device.

       89.     The image immediately below shows Amazon’s extender, a subway-ticket size

device that needs to be inserted in or connected to an existing intercom or access control system:




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      90.     At one building in Manhattan, GateGuard discovered this “extender” device

inserted and connected inside GateGuard’s intercom. The picture shown below is the back of a

portion GateGuard’s intercom. The extender device has been wedged onto Gateguard’s blue circuit

board; the green strip connecting the extender wires to a separate Amazon device can be seen on

the bottom right and the grey “bubbles” that can be seen on the upper left-hand portion of the

extender in paragraph 89 can be seen on the upper right-hand side of GateGuard’s case below:




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       91.     By connecting its device into the GateGuard intercom, Amazon can illegally “free-

ride” off of GateGuard’s product while being placed on or near GateGuard’s circuitry resulting in

malfunctioning that is blamed on GateGuard.

      92.      The dangerous placement of Amazon’s unauthorized device can be clearly seen in

paragraph 90. Circuit boards are incredible delicate electronics which are protected by cases and

should not have even the tiniest unauthorized objects – let alone an entire alien circuit board –

pressed against them. The insertion of the smallest objects on top of a circuit board cause an electric

short, a broken part, or other permanent injury to the board. In this case, by wedging its “extender”

into GateGuard’s case, Amazon damaged GateGuard electronic components, irreparably

destroying the intercom screen.




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       93.    The flip side of this circuit board clearly identifies it as an “extender,” which is a

device that “extends” the functionality of another device, in this case, GateGuard’s intercom.




       94.    The “extension” benefits Amazon and harms GateGuard, by shorting its device,

damaging the intercom screen, and disabling other electronic components.

       95.    The “extender” is clearly connected to the Amazon Key for Business device, as

shown by the sticker on the reverse of the device identifying the model name, number and FCC

ID, as well as the amazon.com website specifying ownership of the product.

       96.    The   FCC     ID    clearly   identifies   Amazon.com      Services    Inc.   as   the

“applicant/grantee”, as shown below:




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        97.      In addition, GateGuard has captured video of Amazon technicians tampering with

 multiple GateGuard devices.15 Set forth below are images from the video showing Amazon

 technicians after they illegally opened the GateGuard® device without authorization and

 destroyed it:




15
  https://drive.google.com/file/d/1sFlE7808kHtjKajLsomDTwzTI3w1zlic/view
 https://drive.google.com/file/d/1Xtry9xVKCv1-VRr2NyqpNvvDV03XjT4L/view
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       97.     In the videos, Amazon employees wearing the jacket with the familiar Amazon

prime half-moon ascending arrow logo can be seen installing a device into the existing intercom

at a building served exclusively by GateGuard. Amazon did not obtain the consent of either

GateGuard or the property owner for the installation of its Key.

Amazon’s Key for Business Installations Routinely Damage Intercoms, Door Locks, and Wiring
       99.     On approximately 20 different occasions, building management have called

GateGuard to repair or replace disabled intercom devices. These calls cost GateGuard time and

money in support and repair, and it is likely that there are many more incidents that are not

reported, causing even greater disruption to customers and loss of business.

       100.    GateGuard logs have caught Amazon-branded technicians tampering with

GateGuard on multiple occasions.




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       101.    Each time GateGuard has been called by building management, GateGuard has

discovered that Amazon tampered with its intercoms, including by inserting and connecting

Amazon’s extenders, a crucial component of the Key for Business “upgrade responsible for the

damage described above.

       102.    On information and belief, Amazon’s actions are not isolated instances, but are

systematic business practices designed to destroy competition. The numerous on-line complaints

and the confirmation that Amazon representatives lie about their authority to install equipment as

discussed above provide a reasonable inference that Amazon’s practices are widespread.

       103.    As shown in the Twitter dialogue reproduced below, when installing Key for

Business – with or without authorization from building management – Amazon routinely disables

or destroys existing intercom devices, door locks, and wiring:




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       104.   After Amazon began aggressively seeking to control the building access market,

GateGuard has received dozens of complaints and has been able to prove that these are directly

related to Amazon’s conduct.




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        105.    As discussed below, GateGuard has confronted Amazon with evidence of its

misconduct and, rather than compensating GateGuard for the damage caused, on information and

belief, Amazon has profited from the information provided by GateGuard to surreptitiously

reinstall its devices to cover up its initial illegal tampering. On information and belief, all of the

customer complaints relating to GateGuard devices failing after an Amazon Key installation are a

direct result of Amazon’s conduct. In addition, many instances of illegal installation remain

undiscovered, continuing to put GateGuard’s equipment at risk (because some devices short

repeatedly and only fail over time) and continuing to provide Amazon with unearned benefits from

its illegal free-riding conduct.

        106.    As a result of Amazon’s conduct, GateGuard customers, residents and others have

come to believe falsely that GateGuard’s intercom systems are defective or that they are otherwise

less desirable or valuable to building owners than the Amazon systems that have been illegally

inserted into GateGuard intercoms.

Amazon Attempts to Avoid Detection

        107.    To prevent detection, particularly after it learns that a savvy access control provider

such as GateGuard has become aware of its tactics, Amazon removes its “extenders” from

GateGuard’s devices after they have been sufficiently damaged.

        108.    GateGuard has been told by building managers that Amazon misleads them, claims

the extenders had nothing to do with any malfunctioning of GateGuard’s devices and then returns

to the building to install a new device that it now presents as an “update” that will avoid the

problems with the previous access control system. Since the property managers were in many, if

not most situations, unaware of the initial installation, they can easily be duped by Amazon. Even

in rare situations where the property managers authorized the installation, they were not informed

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of the manner in which Amazon would install its Key directly into GateGuard’s intercom or onto

its wiring, leading the property managers to believe Amazon’s lies that their product had nothing

to do with GateGuard’s malfunctioning.

        109.    As a result of Amazon’s conduct, GateGuard has suffered reputational harm,

diminished customer loyalty, and loss of revenue and other valuable commercial relationships,

both existing and prospective.

Amazon Reveals its Intentions
        110.    In October of 2020, GateGuard approached Amazon and provided considerable

evidence of its destructive and unlawful conduct (including the evidence incorporated above).

        111.    In addition to denying any responsibility for its conduct, Amazon “gaslit”

GateGuard, suggesting that the failure of GateGuard devices identified as having been the result

of tampering by Amazon was not because of anything done by Amazon but, rather, was

GateGuard’s fault.

        112.    Amazon’s arguments to this effect, however, were unsubstantiated, unsupportable

and false.

        113.    Although Amazon evinced interest in further discussions to explore a potential

resolution, when the parties met, Amazon refused to cease installing Key for Business in a manner

that damaged GateGuard and merely offered to enlist GateGuard as a Key for Business installer,

for which GateGuard would be paid a nominal fee.

        114.    Amazon characterized the Hobson’s choice it presented to GateGuard (which was

recorded on video by GateGuard) along the lines of, “either [Amazon] can cost you money or

make you money.” This is exactly the strategy Amazon aims to deploy with other potential rivals,

turning itself into the essential gatekeeper, relegating third parties, at best, to an “adjunct” role and

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making it prohibitively expensive for others to provide rival and truly competitive access solutions.

In the long run, this strategy aims not only to control the access market, but, ultimately, to control

the ecommerce and package delivery markets generally.

Summary of Amazon’s Anti-Competitive Conduct

       115.    Amazon is not achieving dominance of the building access and e-commerce

delivery markets by technological innovation, but by deception, harassment, ruthlessness, and

blatantly illegal conduct, such as the unauthorized accessing of and tampering with GateGuard and

other parties’ devices, and the pattern of lies and misrepresentations through which it deceives

lower-level apartment personnel to permit installation of the Key without the need to contact and

consult the “higher-ups.”

       116.    The House Antitrust Report documents Amazon’s brazenly anti-competitive

behavior, highlighting Amazon’s bullying, appropriation of third-party seller data, imposing fees

on captive users of its platforms, “self-preferencing” and abusing its “gatekeeper power.” Much

of the House Antitrust Report evokes patterns strikingly similar to the conduct that has so

damaged GateGuard, and underscores the anti-competitive purpose underlying Amazon’s

deceptive, illegal and cut-throat practices: “Once Amazon succeeds in trapping enough

customers in its “flywheel” to secure dominant position across varied markets, it can then raise

prices or remove incentives or allowances for third party sellers/competitors.” Damning as it is,

however, the House Antitrust Report is not the only source of information for Amazon’s history

of anti-competitive practices.

       117.    Reuters recently reported that it had reviewed thousands of pages of internal

Amazon documents – including emails, strategy papers and business plans – that show the

company ran a systematic campaign of creating knockoffs and manipulating search results to

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boost its own product lines in India, one of the company’s largest growth markets. The

documents reveal how Amazon’s private-brands team in India secretly exploited internal data

from Amazon.in to copy products sold by other companies, and then offered them on its

platform.16 On information and belief, Amazon has stolen GateGuard’s proprietary data in a

similar manner.

         118.   The conduct of which GateGuard and others have been victim in fact represents

the anti-competitive DNA at the core of the Amazon business model.

                                     CAUSES OF ACTION

                                         COUNT I.

                 COMPUTER FRAUD AND ABUSE ACT (18 U.S.C. § 1030 et seq.)
                           (AS TO ALL DEFENDANTS)

         119.   GateGuard realleges and incorporates by reference each and every allegation set

above.

         120.   GateGuard’s devices are “high speed data processing device performing logical,

arithmetic, or storage functions” and thus come within the definition of “computer” under the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030(e)(1).

         121.   GateGuard’s intercom devices are involved in interstate and foreign commerce

because they control packages and other deliveries to residential dwellings that originate from

locations both inside and outside of the State of New York. As a result, GateGuard’s intercoms are

“protected computers” under 18 U.S.C. § 1030(e)(2).

         122.   Upon information and belief, each of the Amazon Defendants knowingly and

intentionally accessed GateGuard’s intercom devices without authorization or in excess of



16   https://www.reuters.com/investigates/special-report/amazon-india-rigging/
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authorization, and thereby obtained and used valuable information from those devices, including

customer locations, accounts, and id’s, in violation of 18 U.S.C. § 1030(a)(2)(C).

       123.    Upon information and belief, each of the Amazon Defendants intentionally

accessed a protected computer or computers without authorization, and as a result of such conduct,

caused damage and loss, in violation of 18 U.S.C. § 1030(a)(5)(C), or recklessly caused damage

in violation of 18 U.S.C. § 1030(a)(5)(B).

       124.    Each of the Amazon Defendants caused loss to one or more persons during a one-

year period aggregating well over $5,000 in value, and they also caused damage affecting ten or

more protected computers during a one-year period under 18 U.S.C. § 1030(c)(4)(A)(i)(I).

       125.    Amazon’s imposition of ever increasing delivery quotas as part of its illegal scheme

described herein poses a direct threat to public health and safety, harming both the drivers and

installers and also leading to reckless driving conduct, in violation of 18 U.S.C. §

1030(c)(4)(A)(i)(4).

       126.    GateGuard has suffered damage and loss as a consequence of Defendants’ actions,

including but not limited to the cost of investigating and responding to unauthorized access and

abuse of its intercom devices, conducting damage assessments, restoring and replacing intercom

devices, wiring, systems, or information, termination of contracts, the loss of existing and future

business, and the harm to GateGuard’s operations, reputation and goodwill as described above, all

in an amount to be determined at trial, together with attorneys’ fees and other equitable relief

under 18 U.S.C. § 1030(g).




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                                        COUNT II.

         TORTIOUS INTERFERENCE WITH CONTRACT UNDER NEW YORK LAW
                          (AS TO ALL DEFENDANTS)

          127.   GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

          128.   GateGuard has entered into valid contracts with the owners or authorized agents of

the residential dwellings at which Plaintiff’s intercom devices were installed.

          129.   Defendants were aware of these contracts as evidenced by their misrepresentation

of their authority to access and tamper with Gateguard’s devices.

          130.   Defendants intentionally procured the breach of GateGuard’s contracts with

landlords and property managers by causing the intercom devices to malfunction and the causing

the termination of contracts with GateGuard under false pretexts. In fact, GateGuard’s contracts

do not permit termination when the devices have been damaged by a third party due to no fault of

GateGuard’s.

          131.   Plaintiff has suffered damages as a result of Defendant’s intentional interference

with their contractual relations with landlords and their agents in an amount to be determined at

trial.

                                        COUNT III.

   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                       UNDER NEW YORK LAW
                      (AS TO ALL DEFENDANTS)

         132.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.




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       133.    Defendants intentionally and wrongfully interfered with future economic advantage

to be received from existing customers through the extension of their contracts with Plaintiff and

from future customers who will be deceived into thinking Plaintiff’s rival product to the Key for

Business is responsible for the equipment malfunctioning.

       134.    Plaintiff has lost existing customers, future business from such customers and

prospective customers as a result of Defendants’ wrongful conduct, including their unauthorized

access to Plaintiff’s intercom devices and their tampering with and manipulating said devices to

cause them to malfunction.

       135.    Plaintiff has also been delayed in fulfilling new, revenue-generating devices as its

installers were forced to rush to repair extensive damage caused by Amazon’s illegal installations,

losing that revenue-generating time forever.

       136.    As a result of Defendants’ tortious interference with prospective economic

advantage, Plaintiff has suffered damages in an amount to be determined at trial.

                                       COUNT IV.

                  TRESPASS TO CHATTELS UNDER NEW YORK LAW
                            (AS TO ALL DEFENDANTS)

       137.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       138.    Defendants intentionally impaired the condition, quality and value of Plaintiff's

intercom devices by means of their unauthorized access to such devices and their manipulation

and tampering with the devices in such a manner as to impair their proper functioning and deprive

Plaintiff of the economic benefit therefrom.




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       139.    As a result of Defendants’ intentional impairment of the condition, quality and

value of Plaintiff’s intercom devices, Defendants have committed trespass to chattels and are liable

to Plaintiff for damages in an amount to be determined at trial.

                                        COUNT V.

              WRONGFUL MISAPPROPRIATION UNDER NEW YORK LAW
                          (AS TO ALL DEFENDANTS)

       140.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       141.    Defendants wrongfully and dishonestly, by means of subterfuge and deceit, applied

Plaintiff’s intercom devices to their own use, installing their extenders without authorization to

benefit from Plaintiff’s devices without paying compensation or obtaining consent.

       142.    As a result of Defendants’ wrongful misappropriation, Plaintiff has suffered

damages in an amount to be determined at trial.

                                           COUNT VI.

                                          CONVERSION
                                    (AS TO ALL DEFENDANTS)

       143.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       144.    GateGuard is the legal owner of the intercom devices installed at residential

dwellings under contract with it.

       145.    By accessing GateGuard’s intercoms without authorization and using and misusing

the devices so as to install the Key for Business, Defendants wrongfully exercised dominion over

Plaintiff’s intercom devices.



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        146.    As a result of the ensuing conversion of Plaintiff’s property, Plaintiff has suffered

damages in an amount to be determined at trial.

                                           COUNT VII.

                                    UNJUST ENRICHMENT
                                  (AS TO ALL DEFENDANTS)

        147.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

        148.    Defendants were enriched by their practice of installing the Key for Business inside

Plaintiff’s intercom devices without consent by illegally “free-riding” on the work that Plaintiff

had performed to connect and wire its devices to the electrical circuits in the residential buildings

under contract to it.

        149.    Defendants’ actions occurred at the expense of Plaintiff in that Defendants’ free

riding also involved tampering with and manipulating the intercom devices in such a manner as to

cause the devices to malfunction while maintaining the functionality of Defendants’ Key for

Business.

        150.    It would be against equity and good conscience to permit Defendants to profit from

their unauthorized, wrongful and damaging conduct.

        151.    As a result of the foregoing, Defendants have been unjustly enriched in an amount

to be determined at trial.




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                               COUNT VIII – CLASS CLAIM.

                         ATTEMPTED MONOPOLIZATION
                   UNDER THE SHERMAN ANTITRUST ACT OF 1890,
                                15 U.S.C. § 1 et seq.
                            CLAYTON ACT OF 1914 § 4
                           (AS TO ALL DEFENDANTS)

      152.     GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       153.    Amazon unquestionably exerts market power in the e-commerce delivery market.

Based on statistics showing dramatically increasing market share, at the end of 2020, Amazon

already controlled more than 60% of the e-commerce delivery market, an already staggeringly

high percentage for a single company, and easily substantial enough for a determination that

Amazon has market power in the relevant market. Moreover, the continued explosive growth of

e-commerce and e-commerce deliveries as the economy entered its second year of the Covid

pandemic indicate this percentage is likely now 5-10 points higher.

       154.    Amazon has a specific intent to monopolize the e-commerce delivery market, as

can be easily inferred from the anti-competitive conduct Amazon has displayed in its dealings

with GateGuard, third-party access device providers and property owner, and its specific

comments to GateGuard. Proof of anticompetitive or exclusionary conduct may be used to infer

specific intent to monopolize. Volvo N. Am. Corp. v. Men's Int'l Pro. Tennis Council, 857 F.2d

55, 74 (2d Cir. 1988).

       155.    The anti-competitive conduct detailed in this Complaint, consistent with the

business practices identified by the House Antitrust Report and independent news agencies such

as Reuters, combined with Amazon’s unquestionable market power, give Amazon a dangerous

probability of succeeding in monopolizing the e-commerce delivery market.

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       156.    GateGuard and the other members of the proposed class have suffered anti-trust

injury for which Clayton Act treble damages and attorneys’ fees are available.

       157.    As a result of the foregoing, GateGuard and the other members of the class are

entitled to treble damages and attorneys’ fees, in a total amount to be determined at trial.


                        CLASS REPRESENTATION ALLEGATIONS

       158.    The Class Members are so numerous that their individual joinder herein is

impracticable. On information and belief, the Class Members number in the thousands. Members

of the class include not only rival access control device providers who have suffered similar

injury to GateGuard’s, but also other package delivery services, e-commerce retailers, and

property owners. The precise number of Class Members and their identities are unknown at this

time but may be determined through discovery. Class Members may be notified of the pendency

of this action by mail and/or publication through the records of Defendants.

       159.    Common questions of law and fact exist as to all Class Members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to, the extent of Amazon’s market power in the relevant market,

whether Amazon Key for Business was installed at multi-family residential buildings without

consent, whether Amazon lied to building representatives about its authorization to install its

access “key,” whether Amazon tampered with intercom or other access devices, whether

Amazon sought to turn rivals into unwilling customers, whether Amazon has a specific intent to

monopolize the e-commerce delivery market and whether Amazon has a dangerous probability

of succeeding in monopolizing the market.




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        160.    The claims of GateGuard are typical of the claims of the Class Members in that

all class members must prove Amazon’s market power in the relevant market, anti-competitive

conduct on the part of Amazon, such as the pattern of deceit and illegally tampering of which

GateGuard was a victim, all class members must prove Amazon’s specific intent to monopolize

as directly expressed to GateGuard by an Amazon representative and all Class Members must

establish that Amazon has a dangerous probability success.

        161.    GateGuard is an adequate representative of the Class because its interests do not

conflict with the interests of the Class Members it seeks to represent, it has retained competent

counsel experienced in prosecuting class actions, and it intends to prosecute this action

vigorously.

        162.    The interests of Class Members will be fairly and adequately protected by

Plaintiff and its counsel.

        163.    The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendants’ liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendants’ liability.



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                                         JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury.

         WHEREFORE, Plaintiff demands judgment:

         (1)    Under Count I, for damages resulting from Defendants’ violation of the Computer

Fraud and Abuse Act in an amount to be determined at trial, together with attorneys’ fees and

costs;

         (2)    Under Count II, for damages resulting from Defendants’ tortious interference with

contract in an amount to be determined at trial, together with attorneys’ fees and costs;

         (3)    Under Count III, for damages resulting from Defendants’ tortious interference

with prospective economic advantage in an amount to be determined at trial resulting from

Defendants’ interference with together with attorneys’ fees and costs;

         (4)    Under Count IV, for damages resulting from Defendants’ trespass to chattels in an

amount to be determined at trial;

         (5)    Under Count V, for damages resulting from Defendants’ wrongful

misappropriation in an amount to be determined at trial;

         (6)    Under Count VI, for damages resulting from Defendants’ conversion of Plaintiff’s

property in an amount to be determined at trial, together with attorneys’ fees and costs;

         (7)    Under Count IV, for damages resulting from Defendants’ unjust enrichment in an

amount to be determined at trial;

         (8)    Certifying Count VIII as a class action under Rule 23(b)(3) of the Federal Rules

of Civil Procedure Rule and appointing Ari Teman as class representative;


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       (9)     Under Count VIII, for an award of treble damages and attorneys’ fees under § 4 of

the Clayton Act in an amount to be determined at trial;

       (10)    Awarding Ari Teman a reasonable fee as class representative;

       (11)    Issuing an injunction permanently enjoining Defendants from accessing Plaintiff’s

intercom devices without authorization and modifying, altering or tampering with such devices

in any manner without Plaintiff’s express authorization

       (12)    Such other relief as this Court deems just and proper.

       Dated: New York, New York
              November 10, 2021


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                                             By: /s/ Eden P. Quainton___________
                                                 EDEN P. QUAINTON




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